      Case 4:22-cv-02175 Document 8 Filed on 09/26/22 in TXSD Page 1 of 1
                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                      IN THE UNITED STATES DISTRICT COURT                           September 26, 2022
                      FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                HOUSTON DIVISION

LLOYD KELLEY,                  §
    Plaintiff,                 §
                               §
                               §
v.                             §                           Civil Action No. 4:22-cv-2175
                               §
JOE SAENZ, JOSEPH C. HIBBARD,  §
JOHN BRANNON, WAYNE DOLCEFINO, §
CHRISTOPHER RAMEY, SCOTT       §
BREITENWISCHER, MARC SHERRIN,  §
and SALVADOR BALLESTEROS,      §
      Defendants.              §


                                           ORDER



       The Court, having reviewed Defendant John Brannon’s Motion to Seal Defendant’s

Motion to Dismiss Pursuant to FRCP 12(b)(1) and 12(b)(6), or in the Alternative, Motion for a

More Definite Statement Pursuant to FRCP 12(e) has found the motion to be meritorious.

Defendant Brannon’s motion is HEREBY GRANTED, and Defendant Brannon’s Motion to

Dismiss Pursuant to FRCP 12(b)(1) and 12(b)(6), or in the Alternative, Motion for a More Definite

Statement Pursuant to FRCP 12(e) is SEALED.


                                              September
              Signed on this _____
                             26th day of __________________________, 2022




                                            __________________________________________
                                            HONORABLE LEE H. ROSENTHAL
                                            CHIEF UNITED STATES DISTRICT JUDGE
